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            EXHIBIT 1
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      I,   PAT   J.   DANIEL, City Secretary of the City of Houston, Texas, do hereby certify that

the within and foregoing           is   a   true and correct copy of an excerpt from the Code of

Ordinances of the City of Houston, being Section 28-6 of Chapter 28,         as   the same appears

in   the records of my office.


      WITNESS my hand and the Seal of said City this 8th day of March, 2022.




                                                      Pat    J.   Daniel
                                                      City   Secretary




                                                                                  COH e-003374
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                                                                                        Chapter          28


                                           MISCELLANEOUS OFFENSES AND PROVISIONS*

                                                                                                                                                                                °
Sec.    28-1.       Obstructing                                es.                                       may be accomplished either by gi             written
                                                                                                         notice thereof to the police depa      ut or by post-
     It shall    be        unlawfu             r   any person to throw or
                                                                                                                                            the premises or
                                                                                                         ing a sign at each entrance
deposit in any               d            anything which will      in any
                                                                                                         building. A notice posted      he premises shall be
way obstruct                     free flow              of    water through             the
                                                                                                         by a sign furnished         approved by the police
same.
                                                                                                         department and h       ng letters not less than one
(Code}908,            §    28-3)
                                                                                                                              d which sign   shall state the
                                                                                                         inch in height
                                                                                                         following:
Sec.    28-2.       Possession of gasoli                                siphons.
                                                                                                               "
                                                .                                                                             ING: WATCH DOG ON PREMISES."
     It shall    be        unlawful for
                                 person to have m   a
                               .                                                                         (Code              8, §    28-18.1; Ord. No. 68-1032,                  § 1,   6-25-68)
his possession upon any pubhc street, alley, side-
walk or other public place within the city limits
                                                                                                         Sec.         28-6.    Bands         playing in public for con-
any rubber hose r any other device which could
                                                                                                                               tributions.
be used to sip)1en gasoline out of an automobile.
(Code    196þç1Ï
              28-11)                                                                                           The     playing     upon the streets or in
                                                                                                                                       of    bands
                                                                                                         other public            the city, with a view to
                                                                                                                                    places        in
Sec.     28-3.        Possession of                          'ssiles.                                    taking up a collection from the bystanders by
                                                                                                         someone, for the benefit of the members compos-
  It shall be unlawful           person to possess or
                                                                                                         ing such band, shall be a nuisance and unlawful.
have in his pocket,             about his person any
                                                   or
                                                                                                         Every member of such a band who plays with a
                                               s


stone, bolt, rock    iece of iron or other missile or
                                                                                                         view to taking up or having taken up a collection
hard object        he intent to injure or do harm to
                                                                                                         from the bystanders shall be guilty of committing
any perso       to property, or with the intent to
                                                                                                         a nuisance; provided, however, this section shall
co              ny     unlawful act.                                                                     not be construed to apply to religious organiza-
(C           968,      §    28-14)
                                                                                                         tions that conduct their services in the streets or
                                                                                                         (Cn other p8,blic pl2a7ces.
Sec.     28-4.        Display or sale of                         go           n    door-
                    way, lobby, etc.,                                f unoccupied
                                                                                                              Cross reference-Noise,                   Ch.    30.
                    buildings.
     It shall    be        unlawful            r any person to sell, offer                               Sec.         28-7.    Unattended children in                                  tor ve-
                                 °                                                                                             hicles.
for    sale or  displ                         the doorway, lobby, stair.
way     or entranc                   any unoccupied store                     building                      (a) A person commits an        nse if he, acting
or    office bu    ng              in the city, any goods,                   wares           or
                                                                                                         with knowledge, intent         riminal negligence,
merch                 e'                                                                                 leaves a child in a mot      hicle for longer than
(C            68,      §    28-16)                                                                       five (5) minutes if th  ild is:

Sec. 28-5.            Notice of gua                           or watch dogs                  on          (1)         Younger th              seven (7) years                 of age; and

                      premises.                                                                          (2)         Not att         ded by an individual who                          is   four-
                                  to place a guard or watch                                                          teen      4)   years of age or older.
     It shall    be un1                   1

dog on any             p         other than a private resi~
                                   ises                                                                        (b)   þe       terms "knowledge,"                         "intent"and "crim-
dence and                 ate grounds unless notice thereof                                              ingl/negligence,"                   as        used         in   this section, shall
is    given            the police department. Such notice

     *Charter refesence-Police                     power of city,       Art. II,   §   16.
     Cross reference-Noise,                   Ch. 30.

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